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                                                   UNITED STATES DISTRICT COURT
                   14
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   15
                                                           OAKLAND DIVISION
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                   17
                        In re Google RTB Consumer Privacy            Master File No. 4:21-cv-02155-YGR-VKD
                   18   Litigation,
                                                                     GOOGLE’S RESPONSE TO PLAINTIFFS’
                   19                                                ADMINISTRATIVE MOTION TO CONSIDER
                                                                     WHETHER ANOTHER PARTY’S MATERIALS
                   20   This Document Relates to: all actions        SHOULD BE SEALED (ECF NO. 666)

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ATTORNEYS AT LAW                                                                GOOGLE’S RESPONSE TO PLAINTIFFS’
 SAN FRANCISCO                                                                            ADMIN. MOTION TO SEAL
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f)(3), Google

                    3   LLC (“Google”) respectfully submits this Response to Plaintiffs’ Administrative Motion

                    4   (“Google’s Response”) to Consider Whether Another Party’s Materials Should Be Sealed (ECF

                    5   No. 666) in connection with their Administrative Motion for Leave to Provide Courtesy Copies of

                    6   Sealed Order Cited by Plaintiffs in the Parties’ Joint Letter Brief re: Interrogatory No. 23

                    7   (“Plaintiffs’ Motion”), the Joint Declaration of Lesley E. Weaver, Jason ‘Jay’ Barnes, and David

                    8   A. Straite (“Joint Declaration”), and the three accompanying exhibits (“Exhibits”).

                    9          As set forth below and in the accompanying Declaration of Whitty Somvichian

                   10   (“Somvichian Declaration”), Google sought sealing of the three documents filed as Exhibits to

                   11   Plaintiffs’ Motion in the related matter Calhoun v. Google, No. 21-cv-05146 (N.D. Cal.), and the

                   12   court granted Google’s requests. See Calhoun v. Google, No. 21-cv-05146, ECF No. 883, (N.D.

                   13   Cal. Sept. 30, 2022) (sealing the July 15, 2022 order adopting in part and modifying in part the

                   14   Special Master’s Report and Recommendation related to Google’s preservation of data); id. at ECF

                   15   No. 768, (N.D. Cal. July 15, 2022) (sealing the June 30, 2022 transcript of the hearing before Judge

                   16   Van Keulen). The Court should seal these Exhibits for this reason alone.

                   17          Additionally, Plaintiffs’ Motion and the Joint Declaration contain multiple references to

                   18   information that has been designated as “Highly Confidential—Attorneys’ Eyes Only” pursuant to

                   19   the parties’ Stipulated Protective Order (ECF No. 59) entered in this action. The Court has already

                   20   sealed this information, which includes references to and descriptions of Google’s internal logs and

                   21   their retention periods. See In re Google RTB Consumer Privacy Litig., No. 4:21-cv-02155, ECF

                   22   No. 384, (N.D. Cal. Dec. 19, 2022). The Court should seal Plaintiffs’ Motion and the Joint

                   23   Declaration for this reason as well.

                   24          Finally, as to all the confidential information contained in these documents, Google has

                   25   easily satisfied the applicable good cause standard. Specifically, the cited portions of these

                   26   documents contain highly sensitive, confidential, and proprietary information regarding the

                   27   technical details of Google’s internal logs, data systems, and their metrics. Throughout this

                   28   litigation, the Court has consistently granted Google’s requests to seal descriptions of Google’s
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                    1   internal logs and data systems. See e.g., id. at ECF No. 540, (N.D. Cal. June 8, 2023) (sealing
                    2   portions of a letter brief containing technical details and account identifiers related to Google’s
                    3   highly sensitive data logs and data systems); id. at ECF No. 531 (N.D. Cal. May 26, 2023) (sealing
                    4   discussion of Google’s “technical details and identifiers related to highly sensitive data logs and
                    5   data systems.”).
                    6           Accordingly, Google hereby requests that the Court enter an order sealing the information
                    7   identified in the table below, as reflected in the Proposed Order attached hereto:
                    8               Document                   Text to be Sealed                Party Claiming
                                                                                                Confidentiality
                    9     Administrative Motion for        Portions highlighted at Google
                   10     Leave to Provide Courtesy        PDF pages 3:22-25, 4:12,
                          Copies of Sealed Order Cited     4:14-16
                   11     by Plaintiffs in the Parties’
                          Joint Letter Brief re:
                   12     Interrogatory No. 23 (ECF
                          No. 666-3)
                   13     Joint Declaration of Lesley      Portions highlighted at Google
                   14     E. Weaver, Jason ‘Jay’           PDF pages 3:16-18, 3:22,
                          Barnes, and David A. Straite     4:4, 4:8-9, 4:12, 4:14-15
                   15     (ECF No. 666-4)
                          Ex. A to Joint Declaration Portions highlighted at Google
                   16     (ECF No. 666-5)            PDF pages 5:25, 6:2, 6:12,
                                                     6:14-17, 6:25-26, 8:6,
                   17
                                                     8:22, 9:20-21, 9:28, 10:20,
                   18                                11:22, 12:3, 12:11-15,
                                                     13:4-5, 13:7-8, 13:12,
                   19                                13:15-16, 13:24, 16:1-2,
                                                     16:4-6, 17-66, 68-143
                   20     Ex. B to Joint Declaration Portions highlighted at Google
                   21     (ECF No. 666-6)            PDF pages 5:22, 6:3,
                                                     6:11-15, 7-8
                   22
                          Ex. C to Joint Declaration Portions highlighted at Google
                   23     (ECF No. 666-7)            transcript pages 7:12,
                                                     7:17, 7:24, 8:17-18, 8:21,
                   24                                9:5-12, 9:19, 10:17-21,
                   25                                13:25, 14:1-9, 14:11-12,
                                                     15:15, 15:23, 16:10-11,
                   26                                16:20, 17:2, 17:25, 18:7,
                                                     18:16, 19:4, 20:12, 20:15,
                   27                                21:10, 23:9, 23:11-12,
                                                     25:13, 26:15, 29:4, 29:25,
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                                                     35:7, 35:19, 36:10, 36:15,
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                    1                                      37:7, 38:2, 38:12-13,
                                                           38:15, 38:17, 40:20,
                    2                                      40:23, 44:23, 48:18, 49:4,
                    3                                      49:8, 57:18

                    4
                        II.    LEGAL STANDARD
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                               The Ninth Circuit applies two tests to determine whether a party is entitled to file certain
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                        documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test
                    7
                        for motions “not related, or only tangentially related, to the merits of a case.” Ctr. for Auto Safety
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                        v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana
                    9
                        v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006). Briefing for a discovery
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                        motion is non-dispositive, and thus the good cause standard applies here. See, e.g., ECF No. 453
                   11
                        at 2 (“The underlying discovery dispute does not address the merits of the parties’ claims or
                   12
                        defenses and the Court therefore applies the ‘good cause’ standard of Rule 26(c).”); Calhoun v.
                   13
                        Google, No. 20-cv-05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30, 2021) (finding the “good cause”
                   14
                        standard applies “because the information the parties seek to seal was submitted to the Court in
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                        connection with discovery-related motions, rather than a motion that concerns the merits of the
                   16
                        case.”). The good cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice
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                        or harm will result’ if the information is disclosed.” Heath v. Google LLC, No. 15-cv-01824, 2018
                   18
                        WL 4561773, at *1 (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen.
                   19
                        Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002)).
                   20
                        III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF PLAINTIFFS’ MOTIONS AND ITS
                   21          ACCOMPANYING DOCUMENTS.

                   22          Google respectfully asks this Court to seal portions of these documents as described above.

                   23   As to the Exhibits, Judge Van Keulen has already sealed this information in the related Calhoun

                   24   matter and the Court should seal it again here for this reason alone. Supra at 2. As to Plaintiffs’

                   25   Motion and the Joint Declaration, this Court has already sealed this information in this action. Id.

                   26   Further, all the information Google seeks to seal reflects sensitive and technical details concerning

                   27   Google’s internal data logs and data systems associated with Google Real-time Bidding (“Google

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                    1   RTB”), as well as other propriety internal data logs and systems. (Somvichian Decl. ¶¶ 3, 5.)
                    2   Pursuant to the good cause standard, Google’s sealing request is warranted.
                    3          As explained below, this information is vital to Google’s commercial success, and is the
                    4   sort of “sensitive, non-public, confidential, and proprietary business information” that courts
                    5   routinely seal under the compelling reasons standard. Adtrader, Inc. v. Google LLC, No. 17-cv-
                    6   07082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020). Google has also narrowly tailored
                    7   these sealing requests to encompass only the specific portions that qualify as confidential
                    8   information and therefore do not “unduly limit[] public access.” ASUS Comput. Int’l v. Round
                    9   Rock Research, LLC, No. 12-cv02099, 2014 WL 2810193, at *2 (N.D. Cal. June 20, 2014); see
                   10   also Civ. L.R. 79-5(c).
                   11          Courts in this District regularly seal similar technical details regarding a company’s data
                   12   infrastructure. See, e.g., In re Google Inc. Gmail Litig., No. 13-md-02430, 2013 WL 5366963, at
                   13   *3 (N.D. Cal. Sept. 25, 2013) (finding compelling reasons to seal information about structures that
                   14   Google has in place and the order in which emails go through these structures); see also In re
                   15   Facebook, Inc. Consumer Priv. User Profile Litig., No. 3:18-md-02843, ECF No. 1082 (N.D. Cal.
                   16   Dec. 6, 2022) (finding good cause to seal certain highly technical information related to the
                   17   defendant’s data systems).
                   18          Public disclosure of this information would also create a risk of cyber security threats as
                   19   bad actors would have access to names of Google’s logs or descriptions of particular data systems
                   20   may make it easier for bad actors to piece together previously unconnectable facts. (Somvichian
                   21   Decl. ¶¶ 3, 6–8.) This would further jeopardize Google’s data infrastructure as bad actors could
                   22   target and seek to compromise information related to these logs to further infer additional
                   23   information about Google users that Google stores in those logs. (Id.) See also Google Inc. Gmail
                   24   Litig., 2013 WL 5366963, at *3 (sealing material that “if made public Google contends could lead
                   25   to a breach in the security” of Google’s systems). In light of these risks, this Court has sealed
                   26   similar information and descriptions of Google’s internal logs and data systems throughout this
                   27   litigation. See e.g., ECF No. 540 (N.D. Cal. June 8, 2023) (sealing technical details and account
                   28   identifiers related to Google’s highly sensitive data logs and data systems); ECF No. 531 (N.D.
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ATTORNEYS AT LAW                                                                         GOOGLE’S RESPONSE TO PLAINTIFFS’
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                    1   Cal. May 26, 2023) (sealing discussion of Google’s “technical details and identifiers related to
                    2   highly sensitive data logs and data systems.”); ECF No. 384 (N.D. Cal. Dec. 19, 2022) (sealing
                    3   references to and descriptions of Google’s internal logs and the identifiers contained therein).
                    4   IV.    CONCLUSION
                    5          For the foregoing reasons, Google respectfully requests the Court seal portions of Plaintiffs’
                    6   Motion, the Joint Declaration, and the accompanying Exhibits.
                    7

                    8   Dated: February 16, 2024                             COOLEY LLP
                    9

                   10                                                        By: /s/ Whitty Somvichian
                                                                                 Whitty Somvichian
                   11
                                                                             Attorney for Defendant
                   12                                                        GOOGLE LLC
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